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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 19-cv-22303-KMW
 FLORIDA CARRY, INC., a
 Florida not for profit corporation, et al.,

         Plaintiffs,
 vs.

 CITY OF MIAMI BEACH, et al.,

       Defendants.
 _________________________________/

       REPLY IN SUPPORT OF DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
         Defendants, CITY OF MIAMI BEACH (the “City”), and MICHAEL GARCIA (“Officer M.
 Garcia”), KENNETH BOLDUC (“Sergeant Bolduc”), GUSTAVO VILLAMIL (“Officer Villamil”),
 BRIAN RIVERA (“Officer Rivera”), EDUARDO GARCIA (“Lt. E. Garcia”), JESSICA
 SALABARRIA (“Sergeant Salabarria”), NAHAMI BICELIS (“Officer Bicelis”), ROBERT
 MITCHELL (“Officer Mitchell”), LAVANIEL HICKS (“Officer Hicks”), and ELIZABETH VIDAL
 (“Officer El. Vidal”) (collectively, the “Defendant Officers”) (and collectively altogether, the
 “Defendants”), by and through their undersigned counsel, and pursuant to Fed. R. Civ. P. 56 and S.D.
 Fla. L.R. 56.1, hereby file their Joint Reply in Support of their respective Motions for Summary
 Judgment. [D.E. 56, 59]. In support thereof, Defendants state as follows:
                                               INTRODUCTION
   A. Plaintiffs’ Response Consistently Misstates and Disregards Applicable Law.
         Plaintiffs’ Response in Opposition to Defendants’ Motions for Summary Judgment
 (hereinafter, Plaintiffs’ “Response”), [D.E. 69], is marked by consistent obfuscation of the issues in
 this case and fundamentally flawed statements and applications of fact and law. Under Plaintiffs’
 interpretation of law, even where police officers personally observe persons engaging in activity that
 is generally illegal subject only to a handful of exemptions in the way of affirmative defenses that do
 not apply to everyone, the officers must first rule out the possibility of innocent conduct by disproving
 that those persons are entitled to an affirmative defense before they can lawfully assert reasonable
 suspicion to perform an investigatory stop or probable cause to arrest. Plaintiffs further ask this Court
 to rule that this obligation on law enforcement exists even in a crowded public area where officers
 have determined that the persons engaging in the generally criminal activity are armed with firearms



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 and thus pose a significant and present potential danger to the safety of officers and members of the
 public.
           Put more simply in the context of this particular case, Plaintiffs essentially ask this Court to
 transform the common fishing rod into a cloak of invincibility for any person who seeks to openly
 carry a weapon in the State of Florida, by ruling that police officers not only lack probable cause to
 arrest persons observed openly carrying a firearm in public, but also that police officers lack even
 reasonable suspicion to conduct an investigatory stop of such persons, so long as there is a fishing
 rod in their vicinity. Such an abridgment of law enforcement’s ability to investigate and abate
 articulable and potentially dangerous criminal activity disregards the substantial government interest
 to protect public safety and has been soundly and consistently rejected by the courts. Nevertheless, it
 is Plaintiffs who throughout their Response argue that Defendants have asked this Court to go “well
 beyond” any prior holding in a manner that would yield “absurd results” and abridge persons from
 exercising a “fundamental enumerated right guaranteed by” the Constitutions of the United States and
 the State of Florida. However, Plaintiffs’ position is premised upon a misapprehension of law which
 improperly regards the right to openly carry a firearm as a fundamental constitutional right subject to
 the same treatment as all firearm possession. In fact, the Supreme Court of Florida has expressly
 rejected the notion that the right to openly carry a firearm in public places is a fundamental
 constitutional right. Norman v. State, 215 So. 3d 18, 21 (Fla. 2017).
           In attempting to advance their unsound position, Plaintiffs consistently fail to acknowledge
 any distinction between openly carrying a firearm in Florida – which is not an open carry state – and
 all other manners of firearm possession. Throughout their Response, Plaintiffs improperly equate the
 distinct crimes of carrying a concealed weapon and openly carrying a weapon in interpreting Florida
 Statutes and opinions of Florida courts, wholly disregarding Norman’s express finding that “the
 Florida Legislature has reasonably concluded that concealed carry serves the State’s interests, while
 open carry does not.” Norman, 215 So. 3d 18, 39-40. Plaintiffs go even further by repeatedly
 conflating the right to openly carry firearms in Florida with the right to possess a firearm in one’s
 home or on one’s own property. For example, Plaintiffs argue that under Defendants’ interpretation
 of Fla. Stat. § 790.25, every individual who possesses a hidden firearm in their home without a
 concealed weapons license is subject to arrest for the mere possession of a firearm, and even suggest
 that accepting Defendants’ interpretation of the law would be akin to declaring every person in the
 State of Florida who merely possesses a firearm “a criminal subject to arrest and detention.” See, e.g.,
 [D.E. 69, at 4]. As explained more fully below, Plaintiffs’ hyperbolic mischaracterizations of the well-
 founded arguments that Defendants have asserted are erroneous in all respects.
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     B. Defendants’ Positions.
         Defendants’ general position is that police officers in Florida who observe a person openly
 carrying a firearm in public – a second degree misdemeanor under Fla. Stat. § 790.053 – have
 immediate reasonable suspicion to conduct an investigatory stop and also probable cause to arrest,
 without first ruling out the possibilities that the person is eligible to claim an affirmative defense and
 that one of the affirmative defenses applies, all criteria necessary for persons to enjoy protection under
 Fla. Stat. § 790.25. 1 Based on this – or even less expansive interpretations of the applicable law – the
 evidence in the record, and the undisputed facts, Defendants respectfully submit that they are entitled
 to judgment as a matter of law in this case, as there exists no genuine issue of material fact for trial
 as to any of Plaintiffs’ claims against any of the Defendants. Additionally, Defendant Officers submit
 that they are further entitled to summary judgment pursuant to the protections afforded them under
 qualified immunity and immunity under Fla. Stat. 768.28(9)(a).
         The undisputed facts in this case show that upon visually confirming that at least four of the
 five men were openly carrying firearms on the public Pier, the Defendant Officers had at minimum
 both reasonable suspicion to conduct an investigatory stop of all of the men, and probable cause to
 arrest those who were openly carrying firearms. 2 At the time the investigatory stop was initiated, the
 Defendant Officers had no knowledge regarding any of the men’s identities, propensities, criminal
 histories, or otherwise. The undisputed facts establish that this was, at least in part, due to Plaintiffs’
 failure to abide by their normal custom and practice of notifying cities that they will be holding an
 “open carry” event in advance of their arrival, which is normally done to provide a municipality and
 its law enforcement personnel with some forewarning in the foreseeable likelihood that police
 dispatch receives calls from concerned citizens regarding “a man with a gun.” [ST. ¶¶ 5-9]. Upon
 stopping and disarming the individual Plaintiffs, Defendant Officers located additional concealed
 firearms and knives that the men had in their possession or immediate vicinity. Several minutes into
 the investigatory stop, another visibly armed individual – Plaintiff Weiss – arrived at the Pier. In total,
 at least six (6) firearms and multiple knives were in the immediate possession of the individual
 Plaintiffs when the Defendant Officers arrived on the scene. It is well-settled that the presence of even
 a single firearm in a parking lot heightens the reasonableness of officers’ conduct under the totality


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   A narrow exception may exist where it is plainly apparent to officers that there is no ambiguity as to whether
 the person is openly carrying the firearm lawfully. However, that was not the case here.
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   This is especially true where the officers did not have any ability to readily ascertain that each of the men
 were openly carrying their firearms pursuant to an exemption as provided under Fla. Stat. § 790.25(3), or
 whether any of the men were subject to any of the several disqualifiers under Fla. Stat. § 790.25(2), which
 would render them ineligible to claim any exemption.
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 of the circumstances. See, e.g., Florida v. J.L., 529 U.S. 266, 272 (2000). Here, the reasonableness of
 the Defendant Officers’ conduct was tremendously heightened, and they were unequivocally justified
 to conduct a reasonable investigation and to take every reasonable precaution necessary – including
 returning Plaintiffs’ firearms in a manner that ensured officer safety following the detention – to
 protect the safety of themselves and others on and around the Pier, without subjecting themselves or
 the City to civil liability.
         Even if the Defendant Officers were inclined to provide the Plaintiffs with an opportunity to
 establish that they were exempt from the crime of open carry prior to placing them under arrest, they
 had no ability to safely do so absent – at minimum – conducting an investigatory stop. Considering
 the facts, it was entirely reasonable for the Defendant Officers to approach with firearms drawn and
 to take all actions necessary to ensure safety, including handcuffing and disarming the men, while an
 investigation was conducted. See U.S. v. Spann, US Dist. Lexis 57386 (S.D. Fla. 2015) (citing State
 v. Burgos, 994 So. 2d 1212, 1214 (Fla. 5th DCA 2008)) (“Florida courts and this Court have
 recognized that reasonable suspicion and probable cause are based on probabilities, not absolute
 certainty, and that it is not necessary for police allow an individual to continue in possession of a
 firearm while they confirm the suspected crime to an absolute certainty.”).
         Defendants do not ask this Court to interpret the law in any manner that turns the prior
 holdings of courts in this jurisdiction “on its head”, as Plaintiffs claim in their response. Rather,
 Defendants submit that under the undisputed facts of this case and the great weight of authority
 applicable in this jurisdiction, the investigatory stop and all other actions taken by Defendants with
 respect to the Plaintiffs were lawful under both Florida and federal law and did not violate any of
 Plaintiffs’ rights. As to arguments unique to the City, the City asserts that Plaintiffs have failed to
 remotely establish through undisputed record evidence any plausible inference that the City had any
 official policy or custom of violating the rights allegedly violated in this case, or that the City violated
 Fla. Stat. § 790.33, as more fully set forth herein and in the City’s Motion for Summary Judgment.
 As to the Defendant Officers, they further maintain that they are entitled to summary judgement on
 all of Plaintiffs’ federal claims based on qualified immunity. As to Plaintiffs’ claims under Florida
 law, Defendant Officers maintain they are entitled to summary judgment based upon, inter alia,
 Florida’s waiver of sovereign immunity as provided under § 768.28(9)(a), because there exists no
 evidence that they acted in a malicious, wanton, or willful disregard of Plaintiffs’ rights. Accordingly,
 and for the reasons more fully set forth herein and in Defendants’ respective Motions for Summary
 Judgment, Defendants assert that no genuine issue of material fact exists to create any issue for trial


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 in this cause and respectfully ask this Court to grant summary judgment in their favor on all of
 Plaintiff’s claims asserted against them in this matter.
                                  MEMORANDUM OF LAW
 I.      Plaintiffs’ Arguments Regarding The Proper Interpretation And Application Of Fla.
         Stat. § 790 Are Untenable And Unsupported By Any Applicable Legal Authority
      A. Reliance On The Plain Language of Fla. Stat. § 790.25 Has Not Been Consistently
          Rejected In This Context and Will Not Lead to Absurd Results.
      In their Response, Plaintiffs argue that reliance on the “plain language” of Fla. Stat. § 790.25 has
 been consistently rejected in the context of this case pursuant to “binding precedent.” However, the
 cases cited by Plaintiffs in support of this proposition are entirely factually distinguishable and
 inapposite to facts and issues presented in this case. Moreover, Plaintiffs’ argument that “every Court
 to consider the statute has ruled that the plain language of § 790.25 cannot be relied upon when to do
 so would lead to an absurd result” is inconsequential under the facts of this case, because under the
 facts of this case the result of such reliance is neither absurd not even remotely comparable to those
 which led courts to reject the plain language of the statute in Plaintiffs’ cases.
      To illustrate this fact, Defendants note that both Peoples and French – upon which the Plaintiffs
 heavily rely – involved reversals of criminal convictions of persons who were charged for carrying
 concealed weapons in or on their own property just outside of their own home. Peoples v. State, 287
 So.2d 63 (Fla. 1973); French v. State, 279 So.2d 317 (Fla. 4th DCA 1973). These narrow holdings
 applied only where there existed truly absurd results from relying upon the plain language of § 790.25.
 For instance, Florida’s Fourth District Court of Appeal declined to extend the holding Peoples to
 apply in the context of a firearm carried in the parking lot of a multiple unit apartment dwelling where
 the appellant resided. Sherrod v. State, 484 So. 2d 1279, 1281 (Fla. 4th DCA 1986) (“When a person
 carries a readily accessible, concealed weapon in a public parking lot, he greatly increases the
 likelihood that the weapon will ultimately be used against his fellow citizens. It would be
 unreasonable for a person to assume that the legislature did not intend to address this danger in the
 concealed weapons statute.”). By comparison, an investigatory detention or even arrest of the
 individual Plaintiffs in this case after observing them openly carrying firearms on a crowded public
 Pier is not remotely like an arrest and conviction for carrying a concealed weapon in one’s home, just
 outside one’s home, or even in the parking lot outside of one’s apartment building. Thus, it is entirely
 disingenuous for Plaintiffs to claim that reliance on the plain language of § 790.25 has been
 consistently rejected in this context.
      Plaintiffs also argue that if Defendants’ interpretation of § 790.25 is followed, then even the
 Defendant Officers themselves were subject to arrest for committing the crime of open carry. Here

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 again, Plaintiffs ignore obvious distinctions that belie their argument. As an initial matter, police
 officers submit themselves to rigorous vetting by which it is confirmed that they are not subject to the
 disqualifiers that exist under § 790.25(2), including psychological evaluations, criminal background
 checks, drug testing, and several other similar screenings as a requisite of their employment, and
 typically display a uniform and badge, which allow anyone to visually and readily ascertain that they
 are very likely entitled to the protections of § 790.25(3). Indeed, prior to any police officer openly
 carrying a firearm, they have provided evidence to their municipality and to the State of Florida
 establishing with reasonable certainty that they qualify for the affirmative defense. 3 By contrast, there
 were no readily ascertainable assurances that Plaintiffs were entitled to the protections of § 790.25(3)
 prior to the investigatory stop. Plaintiffs failed to even provide the City or its police department with
 any notice that they would be conducting a group “open carry” event, although they could have and
 normally do as a matter of custom and practice.
     Despite Plaintiffs’ claim that absurd consequences will result if their interpretation of the law is
 not followed by the Court, the stark reality is that the opposite is true. If Plaintiffs’ interpretation of
 the law is followed, then any person would be entitled to walk down Ocean Drive in Miami Beach
 while openly carrying firearms, so long as they are near a fishing pole and not committing some other
 readily observable crime. It further means that law enforcement, despite witnessing generally illegal
 activity that may very well constitute a present and significant danger, would have no recourse to
 intercede. Under Plaintiffs’ theory, law enforcement may have to wait until an armed individual
 selects the most strategic vantage point and commits some heinous act before detaining or arresting
 the individual – at which time they can lawfully investigate whether the individual is among those
 persons eligible to claim the affirmative defense of “going to or returning from a fishing expedition”
 under § 790.25. Such an interpretation renders Florida’s open carry law virtually meaningless, inhibits
 the substantial government interest of promoting public safety, and directly conflicts with the Florida
 Legislature’s intent in establishing Chapter 790.
     B. It Is Well-Established That The Exemptions Provided Under Fla. Stat. § 790.25 Are To
         Be Read As Affirmative Defenses.
     Plaintiffs’ Response further erroneously argues that interpreting Fla. Stat. § 790.25 as a mere
 affirmative defense “would invalidate the purpose of the statute which recognizes as its underpinning,

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   This is not intended to suggest that no police officer openly carrying a weapon could be lawfully subjected
 to an investigatory stop or arrest under Fla. Stat. § 790.053. Indeed, there are certainly scenarios where a police
 officer could be out of uniform, outside of his jurisdiction, or otherwise not unambiguously entitled to the
 protection afforded under § 725.025.


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 the constitutional right to bear arms.” However, Plaintiffs wholly misstate well-established law and
 its application here as well. As throughout their Response, Plaintiffs improperly conflate the
 constitutional right to bear arms with a right to openly carry arms. In so doing, Plaintiffs wholly
 disregard unequivocal precedent established by the Florida Supreme Court. See Norman, 215 So.3d
 18 (upholding the constitutionality of § 790.053 and specifically rejecting “the notion that the
 historical right protected by the Second Amendment is the right to openly carry.”).
    Despite Plaintiffs’ suggestions to the contrary, openly carrying a firearm in the State of Florida is
 generally a crime, and not a “fundamental right.” See § 790.053. Florida and federal courts analyzing
 Florida law have made clear that its prohibition on openly carrying firearms survives constitutional
 scrutiny. See, e.g., Norman, 215 So.3d 18. Nevertheless, Plaintiffs’ Response repeatedly regards
 openly carrying a firearm in the State of Florida as indistinguishable from carrying a concealed
 weapon or even merely possessing a firearm in the home, despite the panoply of courts which have
 recognized the significance of such distinctions. Despite the explicit holding in Norman, Plaintiffs
 essentially ask this Court to rule that the activity of openly carrying a firearm in public is
 presumptively lawful, by interpreting exemptions available under § 790.25 not as affirmative
 defenses, but as elements of the crime of openly carrying a firearm under § 790.053.
    Largely undermining Plaintiffs’ position is the fact that the Florida Legislature’s intent to make
 open carry of firearms generally illegal is well-established. In analyzing Florida’s statutory scheme
 for regulating the manner of carrying firearms and affirming the constitutionality of § 790.053,
 Norman further recognized that while ch. 790, Fla. Stat. does recognize the constitutional right to
 bear arms in a lawful manner, the intent of the legislature was to “promote firearms safety and to curb
 and prevent the use of firearms in come and by incompetent persons”, which chiefly included
 criminalizing the open carrying of firearms in public under most circumstances, while simultaneously
 ensuring that an individual’s ability to carry a firearm for self-defense would not be diminished, by
 allowing anyone with a concealed-carry license, which are granted liberally, to carry a firearm in
 public, so long as the firearm is concealed. Id.
    Furthermore, Norman soundly rejected Plaintiffs’ argument regarding the proper reading of §
 790.25, expressly recognizing that the statute’s exemptions to the prohibition against openly carry
 firearms constitute affirmative defenses to a prosecution for a charge of open carry. Norman, 215 So.
 3d 18 (“We also do not discuss Norman’s claim that the exemptions under § 790.25(3) are elements
 of the crime of openly carrying a firearm under § 790.053 because we find this claim is devoid of
 merit.”). Undeterred by clear precedent, Plaintiffs maintain that § 790.25 cannot be read as an
 affirmative defense, ostensibly because it is well-settled that probable cause to arrest depends on the
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 elements of the alleged crime, and not the mere speculative possibility that an affirmative defense
 may be applicable. See, e.g., Crosby v. Monroe Cnty., 394 F.3d 1328, 1333 (11th Cir. 2004). Under
 Florida law, it is a second-degree misdemeanor “for any person to openly carry on or about his or her
 person any firearm.” Fla. Stat. § 790.053. Those are the elements of the crime. Fla. Stat. § 790.25(3)
 provides that the above prohibition against openly carrying a firearm does not apply in certain
 enumerated circumstances, which constitute affirmative defenses to the crime. A crucial factor to
 recognize – and what Plaintiffs repeatedly ignore – is that § 790.25 does not extend the protections
 of § 790.25(3) to everyone. To the contrary, § 790.25(2) provides numerous disqualifiers that render
 persons ineligible to claim the protections under § 790.25(3). Importantly, the criteria which renders
 one eligible or ineligible to claim the protections – such as being a felon, being subject to an injunction
 for stalking, or being an alcoholic – are generally not facts that be visually or readily ascertained
 absent an investigatory stop.
    C. Defendants’ Position Does Not Require This Court to Depart from Established Law and
       Will Not Result in Any Derogation of Existing Fundamental Rights.
    Despite Plaintiffs’ meritless contention, Defendants have not asked this Court to turn a “long line
 of decisional law on its head and declare that any person in the state of Florida in possession of a
 firearm is not exercising a constitutional right, but instead is a criminal subject to arrest and
 detention.” Further still, Plaintiffs argue that this Court must rely “on the decisions of the courts” over
 the “plain language” of Fla. Stat. § 790.25, claiming that failure to do so would “subject millions of
 Floridians to the same abusive treatment suffered by Plaintiffs in this case.” Plaintiffs’ hyperbolic
 arguments are meritless, and the cases cited by Plaintiffs in to advance their proposition are factually
 distinguishable and entirely inapposite to the case at bar.
    Defendants have never contended that all persons who possess firearms are criminals subject to
 arrest or detention. The distinction between persons openly carrying firearms on a crowded public
 Pier and persons legally in possession of a firearm in countless other contexts is obvious. As set forth
 above, Florida is not an open carry state and open carry of firearms in Florida is the exception, not
 the rule. Moreover, the facts of this case are case was extraordinary even under open carry. For
 instance, in a supposedly inadvertent exception to their regular practice, Plaintiffs failed to provide
 the City or its police department with any advance notice that they were going to be engaging in a
 firearm demonstration on the South Pointe Pier. This lack of notice deprived the City or its police
 department from any ability to plan for foreseeable issues or to secure adequate assurances in advance
 and resulted in Defendant Officers having no reason to know whether Plaintiffs were law abiding
 citizens or domestic terrorists when they responded to the dispatch call advising of multiple men with

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 guns on the Pier. Moreover, the number of visibly armed men, number of weapons, and the crowded,
 security-sensitive location created unique added concerns. See Florida v. J.L., 529 U.S. 266, 272
 (2000) (“Firearms are dangerous, and extraordinary dangers sometimes justify unusual
 precautions.”). In less unusual circumstances, it is possible that there will be less of a perceived
 exigency or that adequate assurances of an individual’s compliance with Florida’s open carry law can
 be more readily established. In either case, finding for Defendants under the facts here is entirely
 consistent with established law and presents no threat to derogation of any fundamental right.
 II.      Defendant Officers Are Entitled to Qualified Immunity On Plaintiffs’ Federal Claims
       As set forth in Defendant Officers’ Motion for Summary Judgment, the undisputed facts clearly
 demonstrate that all Defendant Officers were acting within the scope of their discretionary authority
 at the time of the alleged violations in this lawsuit. Plaintiffs have not disputed this in their Response.
 Accordingly, the burden shifts to Plaintiffs to point to facts that demonstrate Defendant Officers
 violated a constitutional right of theirs that was clearly established at the time of the alleged violations.
 Plaintiffs have wholly failed to meet this burden in their Response and cannot meet this burden under
 the facts of this case. To be sure, Plaintiffs’ Response fails to address or rebut Defendant Officers’
 arguments for qualified immunity, aside from erroneously contending that qualified immunity is not
 available for claims brought under § 790.33. Accordingly, and for the reasons set forth herein and in
 their Motion for Summary Judgment, Defendant Officers respectfully request that summary judgment
 be granted in their favor on all of Plaintiffs’ federal claims asserted against them, on the basis that
 they are entitled to qualified immunity. Nevertheless, to the extent that Plaintiffs’ Response can be
 deemed to implicitly assert arguments germane to the qualified immunity analysis, Defendant
 Officers assert that such arguments have been rebutted herein.
       A. Defendant Officers’ Actions Were Objectively Reasonable.
       Defendant Officers agree with Plaintiffs that the totality of the circumstances is indeed a relevant
 consideration when analyzing the reasonableness of a search or seizure under the Fourth Amendment
 on summary judgment. However, Plaintiffs’ reliance on the decisions in Mackey and Regalado to
 support their argument that the totality of the circumstances did not justify the Defendant Officers’
 actions is misplaced. Mackey v. State, 124 So. 3d 176 (Fla. 2014); Regalado v. State, 25 So. 3d 600,
 606-07 (Fla. 4th DCA 2010). In relying on these cases, Plaintiffs attempt to support their argument
 with decisions rendered by Florida courts in criminal cases that have been called into question and
 which turn on material facts that are easily distinguishable from those in the case at bar. Most
 significantly, neither Mackey nor Regalado involved the open carry of a firearm. Rather, the officers
 in those cases conducted searches with only a mere suspicion that subjects with bulges in their clothes
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  were carrying concealed firearms. Numerous courts have recognized that whether the weapon at issue
  is concealed or openly carried can change the analysis to be conducted. While there is some conflict
  among Florida courts about whether probable cause or reasonable suspicion for a search and seizure
  exists in the context of a concealed firearm, there exists far less authority in the context of a firearm
  that is openly carried. Perhaps that is because, as Defendants contend here, the probable cause to
  arrest is fairly clear. Nevertheless, there is authority to provide guidance.
     Although it is illegal to publicly carry a concealed weapon without a permit under Florida law,
  the right to carry a concealed firearm provided one has a permit to do so is well-established.
  Conversely, Florida is not an open carry state. As a general rule, Florida law prohibits the open carry
  of a firearm with a handful of limited exceptions that many categories of persons are disqualified
  from claiming. See § 790.053(1); § 790.25. As with the exceptions to the crime of open carry provided
  under § 790.25, the possession of a permit to carry a concealed weapon is considered an affirmative
  defense rather than an element of the crime. Even in the context of Florida law governing concealed
  carry, the Eleventh Circuit and other courts have expressly found that an individual’s admission to
  carrying a concealed weapon provides police officers with reasonable suspicion to believe that the
  individual is committing the crime of carrying a concealed weapon under Florida law. U.S. v. Lewis,
  674 F.3d 1298 (11th Cir. 2012).
     As a practical matter, under Florida’s concealed carry and open carry laws, resolving any
  ambiguity as to whether an affirmative defense applies to an individual who is open carrying requires
  a significantly more in-depth and time-consuming inquiry by an officer in the field than determining
  whether an individual carrying a concealed weapon is in possession of a valid permit, which is
  typically sufficient to resolve an ambiguity of whether one carrying a concealed weapon is entitled to
  the affirmative defense. This is logical, because to receive the permit, an individual has already
  provided information required by the State, which has vetted the information and certified that the
  individual meets certain objective statutory requirements, including not being a convicted felon, not
  having been committed to a mental institution, and having displayed competency in handling a
  firearm. Fla. Stat. § 790.06(2). For open carry, no such scheme exists, and officers encountering an
  unknown individual openly carrying a firearm generally have no mechanism to readily resolve an
  ambiguity as to whether one who is openly carrying even eligible to claim the protections under §
  790.25(3), or if they are subject to one of the several disqualifiers under § 790.25(2).
     Despite the numerous court rulings which have found probable cause to exist even in the context
  of a person suspected to be carrying a concealed weapon, Plaintiffs argue that the Defendant Officers
  here had no reason or basis to believe that Plaintiffs’ open carrying of firearms on the Pier was illegal.
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  However, openly carrying a firearm is generally illegal under Florida law. Defendant Officers were
  not required to disprove whether the affirmative defenses applied for each of the Plaintiffs prior to
  having reasonable suspicion to stop and probable cause to arrest under these facts. Placing such a
  burden on officers in all cases of open carrying would be entirely untenable. Nevertheless, although
  Defendant Officers had probable cause to arrest the individual Plaintiffs and no duty undertake the
  burden of thoroughly vetting five persons to determine their entitlement to affirmative defenses, they
  used their discretion to detain rather than arrest the Plaintiffs while an investigation was conducted.
     Alternatively, and at a very minimum, Defendant Officers’ actions were supported by arguable
  probable cause under the facts and circumstances they faced, thus entitling them to qualified immunity
  on this basis as well. To be sure, District Courts sitting in this State have found that an officer’s
  passing observation of a firearm that is sitting on the center console inside of a vehicle provides
  officers with at least arguable probable cause to arrest an individual for openly carrying a firearm in
  violation of § 790.053, thereby entitling the officer to qualified immunity. See Jones v. City of Lake
  City, U.S. Dist. LEXIS 203126 (M.D. Fla. 2013). An official “need not have actual probable cause
  but only ‘arguable probable cause,’ i.e., the facts and circumstances must be such that the officer
  reasonably could have believed that probable cause existed.” Montoute v. Carr, 114 F.3d 181, 184
  (11th Cir. 1997). “Thus, the qualified immunity standard is broad enough to cover some 'mistaken
  judgment' and it shields from liability 'all but the plainly incompetent or those who knowingly violate
  the law.’” Poulakis v. Rogers, U.S. Dist. LEXIS 63732, *5-6 (11th Cir. 2008).
     B. Number of Visibly Armed Individuals and Weapons Heightens the Reasonableness of
          Defendant Officers’ Conduct Under the Totality of the Circumstances.
     It is well-established that the reasonableness of an officers’ conduct under the totality of the
  circumstances is heightened greatly by the admitted presence of firearms, which courts universally
  recognize can pose a serious risk to the safety of officers and other members of the public, especially
  in a crowded public area. See Lewis, 674 F.3d 1308-1309 (recognizing the presence of two firearms
  posed a serious risk to the safety of the officers as well as the other individuals present in a crowded
  parking lot and heightened reasonableness of officers’ conduct); see also Florida v. J.L., 529 U.S.
  266, 272, (2000) (“Firearms are dangerous, and extraordinary dangers sometimes justify unusual
  precautions. Our decisions recognize the serious threat that armed criminals pose to public safety;
  Terry's rule, which permits protective police searches on the basis of reasonable suspicion…responds
  to this very concern.”) (citing Terry, 392 U.S. at 30); Pennsylvania v. Mimms, 434 U.S. 106, 112
  (1977) (per curiam) (observing that armed suspects "pose a serious and present danger to the safety
  of the officer"); see also U.S. v. Gibson, 64 F.3d 617, 624 (11th Cir. 1995).

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      Here, Defendant Officers observed at least four of the individual Plaintiffs openly carrying
  semiautomatic pistols on their persons upon first making visual contact with them on the Pier. As to
  the Plaintiff Devine, who was not openly carrying a firearm but was in possession of a large buck-
  knife, the Defendant Officers had at minimum reasonable suspicion to detain him while they
  investigated his associates, and reasonable grounds to do so based on the powerful concern for their
  safety. It should also be noted that Devine was never handcuffed and never asked whether he was free
  to leave. See Lewis, 674 F.3d 1298 (“Once the officers had [reasonable suspicion of criminal activity],
  they were not obliged to let three of the four associated individuals walk about freely while they
  investigated McRae, in light of the officers’ powerful concern for their own safety.”); see also Samson
  v. California, 547 U.S. 843, 855 n.4 (2006) (“The touchstone of the Fourth Amendment is
  reasonableness, not individualized suspicion.”). Furthermore, Defendant Officers learned that more
  firearms – as well as knives – were in the possession of the individual Plaintiffs after the stop was
  initiated. Plaintiff Weiss also arrived at the Pier after the first five individual Plaintiffs were detained,
  and he too was visibly armed, giving rise to a reasonable concern that more armed men would be
  arriving at the Pier. Finally, during course of the investigatory stop, Plaintiff Taylor made comments
  to the Defendant Officers that would arise concern in anyone, including asserting that Plaintiffs’
  firearms were “bigger and more powerful than yours.” Accordingly, there can be no doubt that the
  Defendant Officers were faced with a legitimate potential danger that under the totality of
  circumstances heightened the reasonableness of their conduct with respect to Plaintiffs, though such
  heightening is not even necessary to find for the Defendant Officers under these facts.
      C. No Violation of Clearly Established Statutory or Constitutional Rights.
      A right is “clearly established” if its contours are sufficiently clear such that “a reasonable official
  would understand that what he is doing violates that right.” Bashir v. Rockdale County, Ga., 445 F.3d
  1323 (11th Cir. 2006) (quoting Anderson v. Creighton, 483 U.S. 635, 640, (1987)); see also Hope v.
  Pelzer, 536 U.S. at 741, (“[T]he salient question…is whether the state of the law . . . gave [the officers]
  fair warning that their alleged treatment of [the plaintiff] was unconstitutional.”). Sources of law
  notifying an official of a statutory or constitutional right include (1) specific statutory or constitutional
  provisions, (2) principles of law articulated in decisions, and (3) factually similar cases decided by
  state and federal courts in the jurisdiction. Goebert v. Lee County, 510 F.3d 1312, 1330 (11th Cir.
  2007). “[A]n officer on duty in the field is entitled to make a reasonable interpretation of the law he
  is obligated to enforce.” Habiger v. City of Fargo, 80 F.3d 289, 296 (8th Cir. 1996).
      Here, Defendant Officers submit that there exists no case decided by state or federal courts in this
  jurisdiction that is sufficiently factually similar to the case at bar, nor specific statutory or

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  constitutional provisions, nor articulated principals of law that would give the Defendant Officers fair
  warning that any of their conduct in this case was unlawful. Plaintiffs’ failure to cite to any case that
  is remotely on point or controlling to support any of their positions is demonstrative of that fact. By
  contrast, Defendant Officers contend that the statutory and constitutional provisions and the principles
  of law articulated in the decisions relied upon by Defendants herein and in their Motions for Summary
  Judgment are far more applicable to the facts of this case and support a finding of reasonableness as
  to Defendant Officers’ conclusions that their conduct did not violate Plaintiffs’ rights. See, e.g.,
  Norman, 215 So. 3d 18; Lewis, 674 F.3d 1298.
  III.      Plaintiffs’ Argument Regarding No Firearm Exception Irrelevant.
         As an initial matter, Plaintiffs’ broad argument that there is “no firearm exception to the Fourth
  Amendment” is irrelevant under these facts, where the Defendant Officers personally observed five
  of the six individual Plaintiffs visibly armed and committing what is generally a firearm crime, and
  thus had reasonable suspicion to conduct an investigatory stop and probable cause to arrest. Moreover,
  regardless of probable cause, Plaintiffs’ argument disregards the case-by-case, factually intensive
  analysis that must be conducted to determine reasonableness under the Fourth Amendment.
         The Regalado and Slydell cases on which Plaintiffs rely – in addition to being factually distinct
  in several material aspects from this case – do not stand for this broad proposition. First, the facts
  underlying Regalado and Slydell are materially distinguishable because the officers in those cases
  relied solely on an anonymous tip that an individual was in possession of a concealed gun without
  anything more. Regalado v. State, 25 So. 3d 600 (Fla. 4th DCA 2009); Slydell v. State, 240 So. 3d
  134 (Fla. 2d DCA 2018). Here, the Defendant Officers personally observed five of the six individual
  Plaintiffs actively committing the crime of open carry in a particularly safety-sensitive location.
         Additionally, Regalado has been rejected and criticized by District Courts sitting in this State as
  contrary to, or distinguishable from, at least two other Florida District Court of Appeal cases. See
  U.S. v. Montague, No. 10-20368-CR, U.S. Dist. LEXIS 86034 (S.D. Fla. 2010) (citing cases). In U.S.
  v. Fountain, the District Court for the Northern District of Florida questioned Regalado’s validity,
  providing an instructive explanation in rejecting a criminal defendant’s reliance upon Regalado and
  finding that officers had not violated the Fourth Amendment when they conducted an investigatory
  stop of an individual who was observed openly carrying a gun:
   “The court rejects the Defendant's assertion that the possession of a weapon did not provide a
   reasonable suspicion of criminal activity. Defendant cites Regalado v. State, 25 So. 3d 600, 606-
   07 (Fla. 4th DCA 2010), in which the court concluded that "stopping a person solely on the ground
   that the individual possesses a gun violates the Fourth Amendment" where "neither the anonymous
   tip nor the officer's observations revealed any suspicion of past, present, or future criminal

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   activity;" and also Baptiste v. State, 995 So. 2d 285 (Fla. 2008) (same). Both cases are materially
   distinguishable on their facts because the officers there had relied on an anonymous tip that an
   individual possessed or displayed a gun. Here, by contrast, Agent Woolcock had personally
   observed Fountain openly carrying a weapon moments before the deputies arrived, which is a
   violation of Florida law. See State v Bethel, 93 So. 3d 410, 413 (Fla. 4th DCA 2012) (citing Fla.
   Stat. § 790.053). Also, in an analogous situation, the Eleventh Circuit has found that a stop was
   supported by reasonable suspicion where the individual was known to be carrying a concealed
   weapon, despite the fact that the individual may have a valid affirmative defense of a lawful permit
   to carry a weapon. See Lewis, 674 F.3d at 1304.”
   U.S. v. Fountain, 2013 U.S. Dist. LEXIS 128873, *10-13, 2013 WL 4833090 (N.D. Fla. 2013).
        Contrary to Plaintiffs’ contention, Defendants do not argue that there is a firearm exception to the
  Fourth Amendment per se. However, Defendants do note that both Florida and federal courts, and the
  Supreme Court, have recognized that the presence of a firearm is highly relevant to the reasonableness
  of officer conduct under the totality of the circumstances for purposes of the Fourth Amendment. See
  J.L., 529 U.S. at 272; Mimms, 434 U.S. at 112; Gibson, 64 F.3d at 624.
  IV.      Additional Items Relevant to Summary Judgment and Plaintiffs’ Response
        A. Plaintiffs’ Detention Was Justified & Objectively Reasonable In Relation to Its Purpose.
        In addition to Plaintiffs’ arguments that the investigatory stop and detention was unlawful,
  Plaintiffs argue that Defendants continued to violate their Constitutional rights “after determining that
  no crime had been committed.” However, Plaintiffs’ argument in this regard is unsupported by the
  facts. The Eleventh Circuit has held that no rigid time limitation or bright line rule exists regarding
  the permissible duration of an investigatory stop. Roberts v. Kahl, U.S. App. LEXIS 2908, *1 (11th
  Cir. 2021). Instead, no matter the timing, the duration of the detention must be reasonable in relation
  to the purpose of the stop. Whether such duration is reasonable depends on the particular facts of each
  case. Relevant facts to be considered are whether the detention related to the need to maintain safety
  of the officers or to protect the integrity of an ongoing investigation. See U.S. v. Gopie, 347 Fed.
  Appx. 495, 500-501, 2009 U.S. App. LEXIS 21371, *10-11 (citing U.S. v. Gil, 204 F.3d 1347, 1350-
  51 (11th Cir.) (finding Terry stop did not ripen into arrest where suspect was handcuffed and detained
  in the back of a patrol car for seventy-five minutes for the safety of the officers and ongoing
  investigation) (emphasis added); see also U.S. v. Street, 472 F.3d 1298, 1306 (11th Cir. 2006) (agents
  who stopped defendant to question him for a valid purpose could pursue questioning “throughout the
  period leading up to the existence of probable cause, which was established no more than an hour
  after the stop was made”).
        Under the undisputed facts and totality of the circumstances in this case, the scope and duration
  of Plaintiffs’ detention was objectively reasonable and did not violate Plaintiffs’ rights. The total time
  from the first Defendant Officers contacting the Plaintiffs on the Pier and Plaintiffs being advised

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  they were free to go was approximately 1 hour and 18 minutes. [ST. ¶ 54]. In the scope of a routine
  traffic stop, such a period of detention would generally be unreasonable. Here, the detention was
  justified and reasonable under the unique facts and circumstances, which included the number of
  suspects that were simultaneously detained, at least five of whom required attention, from being safely
  disarmed to being vetted for exemptions to the crime of open carrying a firearm, among other factors.
  As set forth above, determining whether an affirmative is available to a person observed open carrying
  a firearm first requires a determination as to whether the individual is subject to any one of several
  disqualifiers that preclude him from asserting the defense, which are multi-faceted and not readily
  determinable. Under the facts here, which also include the presence and number of firearms and other
  weapons, the need to maintain officer safety, and a statute with qualifiers as numerous as § 790.25,
  the detention of slightly over 1 hour was reasonable in relation to the purpose of the stop, which was
  to abate a clear and present potential danger and to investigate and ascertain to a reasonable degree
  whether Plaintiffs were entitled to an exemption under Florida law governing open carry of firearms.
     Plaintiffs also argue that there was no reason to continue to detain Plaintiffs or their property
  “once it was determined that the Plaintiffs’ possession of the firearms were lawful.” In this regard,
  Defendants submit that Plaintiffs point to no record evidence to suggest it was ever definitively
  determined that Plaintiffs’ possession of the firearms was lawful prior to their release. Instead,
  Defendant Officers used their discretion and decided not to arrest Plaintiffs following an investigation
  that allayed their concerns to an acceptable degree. Moreover, because Defendants had probable cause
  to arrest Plaintiffs and thus impound their weapons, but instead used their discretion to allow them to
  go free with their firearms after conducting investigation and determining that they had assurances,
  all aspects of the investigatory detention and return of property were lawful. Any minor delay was
  reasonable and only as needed to ensure officer safety based upon substantial risk returning weapons
  and ammunition would have posed on the Pier, and because return of property was only slightly
  delayed by the time walking to parking lot, where all property was promptly and safely returned.
     B. Procedure for Returning Plaintiffs’ Weapons Was Objectively Reasonable for Officer
        Safety Under the Circumstances and Did Not Violate Any Clearly Established Right.
     As noted above, the method of returning Plaintiffs’ weapons upon conclusion of the investigatory
  detention was reasonable based upon the substantial and legitimate risk to officer safety posed by
  returning Plaintiffs’ weapons to them on the Pier. Defendant Officers’ reasonableness in this regard
  was heightened under the circumstances due to the nature of the location, number of weapons and
  individuals involved, at least one of whom exhibited extreme agitation towards officers during much
  of the detention. Under the totality of the circumstances, it would be untenable to require officers to

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  return loaded weapons, or even unloaded weapons and ammunition, to individuals they had just
  detained while standing with them on a pier where the ability to retreat is limited. Instead, after
  explaining the procedure for how firearms could be returned, some of the Defendant Officers walked
  with Plaintiffs to the nearby parking lot and returned Plaintiffs’ weapons by placing them in any
  vehicle stowage compartment selected by Plaintiffs. The basis for the procedure was explained to
  Plaintiffs, who were advised that they could retrieve and re-holster their weapons immediately once
  officers had an opportunity to clear the scene. See [ST. ¶¶ 58-59]. Nevertheless, Plaintiffs argue that
  there was “no reason” for Defendant Officers to “require” that Plaintiffs give them a plain view search
  of their vehicle compartments as a condition for the return of lawfully possessed, constitutionally
  protected property. As discussed above, the method of returning Plaintiffs weapons did in fact have
  a “reason”, which was the important and very real concern for officer safety. Moreover, Defendant
  Officers did not in fact require Plaintiffs to give them a “plain view search of their vehicle
  compartments.” As officers explained to Plaintiffs prior to returning their weapons, Plaintiffs could
  select any location in any vehicle that was “somewhere away from you”, where their weapons,
  ammunition, and any other miscellaneous property would be placed until officers had an opportunity
  to safely clear the scene, which they promptly did. There is no evidence that Plaintiffs asked any the
  Defendant Officers for another option to have their weapons safely returned to them, or that any
  Plaintiffs refused consent to this procedure. Accordingly, and for the reasons set forth herein, there
  was no violation of law in this regard, and at minimum the Defendant Officers are entitled to qualified
  immunity on all claims arising out of this issue.
     C. Defendants Did Not Unlawfully Interfere With Plaintiffs’ “Right to Continue Fishing”
         or Right to Assemble Following the Investigatory Stop.
     Plaintiffs’ Response claims that Defendants interfered with Plaintiffs’ “right to continue fishing”
  and right to assemble for “no reason.” As an initial matter, although Plaintiffs may have a license to
  fish in Florida waters as permitted by law, they do not have an inalienable statutory right to fish from
  the South Pointe Pier. It is undisputed that upon concluding the investigation and detention of
  Plaintiffs, Defendant Officers advised Plaintiffs that they were permitted to remain in the area and
  fish if they wished to do so. [ST. ¶ 57]. Indeed, Plaintiff Weiss did remain in the area after the
  investigatory detention concluded, re-holstering his firearm and fishing from the jetty adjacent to the
  Pier without any interference. [ST. ¶ 60]. While it is true that the Pier itself was closed to the public
  for a period following the incident, the closure applied to all persons and certainly did not prevent
  Plaintiffs from gathering anywhere else in the area to continue their demonstration or from fishing
  anywhere else legally permissible along South Pointe Park’s vast waterfront. For these reasons and

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  those set forth in Defendants’ Motions for Summary Judgment, Plaintiffs’ claims that Defendants
  denied their constitutional right to assemble are unsupported by fact or law and cannot stand.
     D. Defendants Remain Entitled to Summary Judgment on Plaintiffs’ § 1985 Claims.
     In their Response, Plaintiffs fail to provide any rebuttal to Defendants’ arguments that Summary
  Judgment must be granted in their favor on Plaintiffs’ 42 U.S.C. § 1985 claims as asserted in Count
  IX. Accordingly, Defendants will not endeavor to provide a substantive reply on this issue and
  maintain that they are entitled to Summary Judgement as to Count IX based upon the undisputed facts
  in the record and the grounds set forth in their respective Motions for Summary Judgment.
     E. Defendants Salabarria, Vidal, Bicelis, and Mitchell Entitled to Summary Judgment.
     In Defendant Officers’ Motion for Summary Judgment, Sgt. Salabarria, Ofc. Vidal, Ofc. Bicelis,
  and Ofc. Mitchell each similarly asserted their entitlement to summary judgment on the grounds that
  Plaintiffs’ Complaint is almost entirely devoid of any allegations against them, and that there exists a
  dearth of record evidence to support Plaintiffs’ claims against them, if any. [D.E. 59, at 17-20].
  Plaintiffs’ Response briefly addresses three of the four officers’ arguments on summary judgment,
  but nevertheless fails to create any genuine issue of material fact for trial.
     As to Ofc. Mitchell, Plaintiffs’ Response provides no rebuttal as to why Ofc. Mitchell is not
  entitled to summary judgment. Accordingly, Ofc. Mitchell respectfully asks this Court to grant
  summary judgment in his favor and dismissing him from this matter with prejudice.
     With respect to Defendant Ofc. El. Vidal and Sgt. Salabarria, Plaintiffs’ Response provides only
  a bare-bones rebuttal, stating that they are not entitled to judgment because they were “present at the
  scene and violated Plaintiffs’ Constitutional Rights by continued and ongoing detention of the
  individual Plaintiffs.” However, Plaintiffs fail to cite to single item of record evidence to establish
  why Ofc. El. Vidal or Sgt. Salabarria should remain in this case. Mere presence at the scene to provide
  backup and support is not sufficient to give rise to liability Accordingly, Ofc. El. Vidal and Sgt.
  Salabarria respectfully request summary judgment as to Plaintiffs’ claims against them in this case.
     As to Ofc. Bicelis, Plaintiffs also assert that she is not entitled to summary judgment because she
  was “present at the scene and violated Plaintiffs’ Constitutional Rights by continued and ongoing
  detention of the individual Plaintiffs.” Plaintiffs do cite to one item of record evidence, stating that
  Ofc. Bicelis is not entitled to summary judgment because she can purportedly be seen on Ofc. Garcia’s
  BWC video creating a record of Plaintiffs’ firearm serial numbers with her cell phone, in “violation
  of Fla. Stat. § 790.335.” Plaintiffs do not cite to the portion of the video to identify what specific
  conduct they allege is Ofc. Bicelis “creating a record” of their firearm serial numbers. Moreover,
  Plaintiffs provide no explanation of how Ofc. Bicelis violated § 790.335, which does not specifically

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  proscribe the ask of making a video of serial numbers without more. Moreover, the U.S. Supreme
  Court has ruled that “the mere recording of serial numbers” does not constitute a seizure, even where
  an officer has only reasonable suspicion. Arizona v. Hicks, 480 U.S. 321 (1987). Because Plaintiffs
  have failed to establish any genuine issues of fact as to Ofc. Bicelis, she respectfully requests entry
  of summary judgment on all claims asserted against her herein.
     F. Defendants Are Entitled To Summary Judgment As To Plaintiffs’ Battery And
        Excessive Force Claims
     Under Florida law, officers are permitted to make a full custodial arrest whether the offense is a
  felony or a misdemeanor. See Durruthy v. Pastor, 351 F.3d 1080, 1093 (11th Cir. 2003) (citing Fla.
  Stat. § 901.15(1)). “[T]he application of de minimis force, without more, will not support a claim for
  excessive force in violation of the Fourth Amendment." Nolin v. Isbell, 207 F.3d 1253, 1257 (11th
  Cir. 2000). “[Q]ualified immunity is appropriate in close cases where a reasonable officer could have
  believed that his actions were lawful.” Ferraro, 284 F.3d at 1200. Additionally, while Defendant
  Officers here had more than reasonable suspicion to detain, it is worth noting that even where an
  officer has only reasonable suspicion, if the use of force is only de minimis, it cannot be considered
  excessive (emphasis added). Roberts v. Kahl, 2021 WL 371462 (11th Cir. 2021).
     Based upon the uncontroverted evidence in the record, including videos exhibits which depict
  officers securing and disarming the Plaintiffs – essentially the only physical contact they had with
  any of the Plaintiffs – there are no genuine issues of material fact that Defendant Officers used force
  that was excessive or unreasonable. To the contrary, the record evidence demonstrates that the
  Defendant Officers who made any physical contact with Plaintiffs did nothing other than calmly
  handcuff, frisk, and disarm them – which is reasonable, de minimis at most and does not violate the
  Fourth Amendment. Similar analysis applies to establish Defendants’ entitlement to summary
  judgment on Plaintiffs’ state law battery claims as well. Defendant Officers are also entitled to wide-
  reaching qualified immunity as to Plaintiffs’ federal claims in this case, including in this regard, as
  their actions were objectively reasonable and did not violate any clearly established rights.
     G. Plaintiffs’ Application of Sovereign Immunity and Qualified Immunity to Claims
        Brought Under Fla. Stat. § 790.33 is Irrelevant Under the Claims and Defenses.
         In their Response, Plaintiffs contend that neither qualified nor sovereign immunity applies to
  claims under Fla. Stat. § 790.33. Regardless of whether this is an accurate statement of law, the result
  is inconsequential under the claims and defenses that have been asserted in this case. Nevertheless,
  the case relied upon by Plaintiffs is beneficial for considering the Parties’ positions as to § 790.33.
         A. Sovereign Immunity and § 790.33 (City).


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         As grounds for their position that sovereign immunity is inapplicable in an action under Fla.
  Stat. § 790.33, Plaintiffs rely upon the opinion of Florida’s First District Court of Appeal in Fla.
  Carry, Inc. v. Univ. of Fla., 180 So. 3d 137 (Fla. 1st DCA 2015). In that case, the Appellate Court
  found that that trial court erred in granting a motion to dismiss filed by the president of the defendant
  university based on immunity under § 768.28(9)(a), reasoning that § 768.28 applies only when the
  governmental entity is being sued in tort and does not extent the immunity provided in the statute to
  non-tort actions. The Appellate Court further ruled that, to the extent the claim against the president
  was based on § 790.33, which prohibited government subdivisions or entities other than the legislature
  from regulating firearms, it properly dismissed because § 790.33 did not apply to individuals. To be
  sure, Count I of Plaintiffs’ Amended Complaint is the only claim based on § 790.33, and is only
  asserted against the City. In its Motion for Summary Judgment, the City has not argued that it is
  immune from liability as to this claim pursuant to § 768.28. Rather, the City argues that Plaintiffs’ §
  790.33 claim fails as a matter of law because there is no preempted ordinance or rule in existence, no
  claim for “actual damages”, and no live controversy that could warrant Plaintiffs’ claim under §
  790.33 or any claim for declaratory or injunctive relief. Ironically, although Plaintiffs erroneously
  rely upon Univ. of Fla. to rebut a non-existent § 768.28 defense that the City has not asserted, that
  case does in fact support the argument that was made by the City regarding Plaintiffs’ § 790.33 claim
  in the City’s Motion for Summary Judgment. Univ. of Fla., 180 So. 3d 137. Specifically, the 1st DCA
  in that case affirmed the trial court’s determination that no case or controversy existed with respect
  to appellant’s claim that the defendant university’s policies regarding firearms violated that court’s
  prior decision, as there was no evidence that the university attempted to enforce or enact any policy
  or regulation contrary to the prior decision, but instead added language to its regulation concerning
  firearms on campus, stating that university would comply with Florida law governing firearms in
  vehicles. Such reasoning is also applicable in the case at bar and justifies dismissal of Count I against
  the City, as there is no genuine dispute as to the fact that the City did not enact or cause to be enforced
  any local ordinance, administrative rule, regulation, or policy that conflicted with § 790.33, as set
  forth in detail by the City in its Motion for Summary Judgment. [D.E. 56, at 18-20].
         B. Sovereign & Qualified Immunity and Fla. Stat. § 790.33 (Defendant Officers).
     In addition to the fact that Plaintiffs have not asserted a § 790.33 claim against the Defendant
  Officers in this case, Univ. of Fla., 180 So. 3d 137, confirms that § 790.33 does not apply to
  individuals, and thus Defendant Officers will not endeavor to further address any erroneous
  suggestion that Plaintiffs may have implicitly attempted to advance regarding the Defendant Officers’
  entitlement to claim sovereign immunity under § 768.28 with respect Plaintiffs’ state law tort claims
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  against them in this matter. Additionally, Plaintiffs’ Response further states – with no supporting
  authority and little explanation – that qualified immunity does not apply to claims under Fla. Stat. §
  790.33, reasoning that the Florida Legislature “created what is in essence a strict liability requirement
  for local governments who attempt to enact or enforce their own policies, rules or regulations
  regarding firearms.” [D.E. 69, at 16]. Putting aside whether this is a correct statement of the law, it is
  of no moment here, where only the Defendant Officers seek to assert qualified immunity and no claim
  under § 790.33 has been asserted against them. To the extent that Plaintiffs mean to suggest that the
  Defendant Officers are not entitled to claim qualified immunity as to Plaintiffs’ federal claims against
  them in this case, Plaintiffs’ position is meritless.
      H. City Maintains Entitlement to Summary Judgment on Plaintiffs’ Respondeat Superior
         Claim for Assault, Battery and False Imprisonment As Set Forth in Count XIII.
         In their Response, Plaintiffs fail to provide any rebuttal to the City’s arguments that Summary
  Judgment must be granted for Defendants on Plaintiffs’ Respondent Superior Claim asserted against
  the City in Count XIII. Accordingly, the City will not endeavor to provide a substantive reply on this
  issue, and respectfully maintains that it is entitled to Summary Judgement as to Count XIII based on
  the undisputed facts in the record and the grounds set forth in its Motion for Summary Judgment.
      I. Defendant Officers Maintain Their Entitlement to Immunity and Summary Judgment
         on Plaintiffs’ State Law Tort Claims Asserted in Counts X-XII.
         Aside from Plaintiffs’ contention that sovereign immunity is inapplicable to § 790.33 claims
  as noted above, which is irrelevant here, Plaintiffs have failed to rebut any of Defendant Officers’
  arguments asserting that they are entitled to summary judgment on Plaintiffs’ state law claims for
  assault, battery, and false imprisonment. Accordingly, Defendant Officers will not endeavor to
  provide specific substantive reply and maintain all their previously proffered arguments as well as all
  those set forth herein, as applicable, including that Defendant Officers probable cause for all actions
  taken with respect to Plaintiffs, any force used was de minimis, and all actions were reasonable.
  Moreover, Defendant Officers maintain that they are entitled immunity afforded to officers under
  §768.28(9)(a), as Plaintiffs have pointed to no evidence to create any issue that Defendant Officers
  acted in bad faith, with malicious purpose, or with wanton and willful disregard for human rights,
  safety, or property. Based on the foregoing, Defendant Officers respectfully request summary
  judgment in their favor on all of Plaintiffs’ state law claims against them in this matter.
                                       CONCLUSION
          WHEREFORE, for the reasons set forth herein and in Defendants’ Respective Motions for
  Summary Judgment, [D.E. 56, 59], Statement of Undisputed Facts in Support Thereof, [D.E. 57], and
  in consideration of all evidence and undisputed facts in the record, [D.E. 58], Defendants submit that

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  there is no genuine issue of fact for trial, that they are entitled to judgment as a matter of law, and
  respectfully request that this Honorable Court grant final summary judgment in favor of the
  Defendants on all claims asserted against them by Plaintiffs in this matter, dismissing this matter with
  prejudice, and entering any such additional relief as this Court deems equitable and just.


     Dated this 27th day of March, 2021.
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                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 28th day of March, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the attached

  Service List in the manner specified, either via transmission of Notices of Electronic Filing generated

  by CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.

                                                         s/Bradley F. Zappala
                                                         Bradley F. Zappala, Esq.




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                                          SERVICE LIST
                      Florida Carry, Inc., et al v. City of Miami Beach, et al.
                     United States District Court, Southern District of Florida
                                   Case No.: 19-cv-22303-KMW

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